     Case 6:20-cv-00180-JDK Document 12 Filed 05/16/20 Page 1 of 2 PageID #: 46




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

NOVEDEA SYSTEMS, INC. and                       §
ANAND DASARI,                                   §
                                                §
     Plaintiffs,                                §
                                                §                    Civil Action No. 6:20-cv-180
v.                                              §
                                                §                    JURY TRIAL DEMANDED
COLABERRY, INC. and                             §
RAM KATAMARAJA,                                 §
                                                §
     Defendants.                                §


                                 NOTICE OF APPEARANCE

         Gene A. Hamm II and John P. Martin of The Hamm Firm (“THF”) file this Notice of

Appearance on behalf of plaintiffs Novedea Systems, Inc. (“Novedea”) and Anand Dasari

(“Dasari”) (collectively, “Plaintiffs”). Plaintiffs’ current counsel of record, Ryan A. Botkin and

Wittliff Cutter, PLLC, and THF have filed a Motion to Substitute Counsel that is pending before

the Court.

                                                    Respectfully submitted,




                                                    Gene A. Hamm II
                                                    SBOT # 00795405
                                                    John P. Martin
                                                    SBOT # 24074657

                                                    THE HAMM FIRM
                                                    1333 W. McDermott, Suite 200
                                                    Allen, Texas 75013
                                                    Main: 469.656.1593
                                                    eFax: 469.656.1594



NOTICE OF APPEARANCE
D3008.001.04.09.0                                                                    Page 1
 Case 6:20-cv-00180-JDK Document 12 Filed 05/16/20 Page 2 of 2 PageID #: 47




                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above and foregoing was served by ECF to
counsel of record on May 16, 2020:

       Rajkumar Vinnakota
       Sean N. Hsu
       Glenn E. Janik
       JANIK VINNAKOTA LLP
       8111 LBJ Freeway, Suite 790
       Dallas, TX 75251
       Tel.: (214) 390-9999
       Fax: (214) 586-0680
       kvinnakota@jvllp.com
       shsu@jvllp.com
       gjanik@jvllp.com

       COUNSEL FOR DEFENDANTS
       COLABERRY, INC. and RAM
       KATAMARAJA




                                                  Gene A. Hamm II




NOTICE OF APPEARANCE
D3008.001.04.09.0                                                                Page 2
